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                     Exhibit 18
Case: 1:17-md-02804-DAP
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    1       IN THE UNITED STATES DISTRICT COURT
             FOR THE NORTHERN DISTRICT OF OHIO
    2                 EASTERN DIVISION
                           - - -
    3     IN RE: NATIONAL              : HON. DAN A.
          PRESCRIPTION OPIATE          : POLSTER
    4     LITIGATION                   : MDL NO. 2804
                                       :
    5     This document relates to:    : Case No. 17-MD-2804
                                       :
    6     The County of Summit, Ohio   :
          Ohio et al. v. Purdue Pharma :
    7     L.P., et al., Case No.       :
          17-OP-45004                  :
    8                                  :
          The County of Cuyahoga v.    :
    9     Purdue Pharma Purdue Pharma :
          L.P., et al., Case No.       :
   10     18-OP-45090                  :
   11                       - - -
   12            - HIGHLY CONFIDENTIAL -
         SUBJECT TO FURTHER CONFIDENTIALITY REVIEW
   13
                               VOLUME I
   14                           - - -
                             May 9, 2019
   15
   16                 Videotaped deposition of
         CRAIG J. McCANN, Ph.D., CFA, taken
   17    pursuant to notice, was held at the law
         offices of Morgan Lewis & Bockius, LLP,
   18    1111 Pennsylvania Avenue, NW, Washington,
         D.C., beginning at 10:03 a.m., on the
   19    above date, before Michelle L. Gray, a
         Registered Professional Reporter,
   20    Certified Shorthand Reporter, Certified
         Realtime Reporter, and Notary Public.
   21
                                -   -   -
   22
                 GOLKOW LITIGATION SERVICES
   23        877.370.3377 ph | 917.591.5672 fax
                       deps@golkow.com
   24

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   1      A. I do.                                   1       Q. Okay. So just so that I can
   2      Q. So if I refer to your five              2  make sure that I have it all straight.
   3 approaches, will you understand that I'm         3 So you got the five approaches from
   4 referring to those five approaches as            4 plaintiffs' counsel, and you applied them
   5 I've just read them out?                         5 to the data, and that's it, with respect
   6      A. Yes.                                     6 to Section 9?
   7      Q. Did you apply any other                  7      A. Correct.
   8 approaches aside from those five in              8      Q. So it's fair to say that any
   9 reaching your conclusions?                       9 one of these approaches could be or could
  10      A. Not with respect to the                 10 not be appropriate for use in this
  11 conclusions I reached in Section 9 at           11 particular setting; you're just not
  12 least.                                          12 taking an opinion on that one way or the
  13      Q. Okay. From where did you                13 other?
  14 get the five approaches that you apply in       14      A. Right. I think other
  15 Section 9?                                      15 witnesses are going to deal with that
  16      A. From discussions with                   16 issue.
  17 counsel.                                        17      Q. And just to make sure I'm
  18      Q. Who? Is it the same list of             18 totally clear, you're not opining
  19 people that we discussed earlier today?         19 anywhere that any of these approaches is
  20      A. Yes. There may be some                  20 or is not required by law in any way?
  21 additional lawyers whose names didn't           21      A. Correct.
  22 come to mind when I was giving you the          22      Q. I think you mentioned
  23 names of people I interacted with               23 earlier that there are certain
  24 earlier.                                        24 assumptions that are built into your

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   1      Q. Anyone come to mind?                    1  approaches. Do you remember mentioning
   2      A. It would be -- it would be              2  that?
   3 something like that list and perhaps             3      A. Yes.
   4 more.                                            4      Q. Let's take a look at Page
   5      Q. Anyone in particular that                5 100 -- sorry, Paragraph 131 of your
   6 you think you left out earlier that comes        6 report.
   7 to mind?                                         7          This is under the Heading A,
   8      A. No.                                      8 "Maximum Monthly Trailing Six-Month
   9      Q. Did you get any input on                 9 Thresholds."
  10 these five approaches from any of your          10          Do you see that?
  11 discussions with current or former DEA          11      A. Yes.
  12 agents?                                         12      Q. Okay. And in this
  13      A. No.                                     13 paragraph, it starts, "Under the first
  14      Q. Did you take any other step             14 approach, I identify transactions that
  15 to verify with the DEA that any or all of       15 cause the number of dosage units shipped
  16 these approaches are appropriate in this        16 by a distributor to a pharmacy in a
  17 setting?                                        17 calendar month to exceed the highest
  18      A. I'm sorry. I don't know                 18 number of dosage units shipped by the
  19 what you mean by any other, but I didn't        19 distributor to the pharmacy in any one of
  20 do anything other than serve as the             20 the six preceding calendar months."
  21 computer, you referred to me as earlier.        21          Did I read that correctly?
  22 I took these approaches and implemented         22      A. Yes.
  23 them, applied them to the data. That's          23      Q. And then you go on and you
  24 what I did.                                     24 have an example, right? It says, "For


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   1      if it's exactly what you                    1      Q. What do you mean by a
   2      described. But we -- we did other           2 flagged transaction?
   3      analysis.                                   3      A. Well, for my purposes it's
   4 BY MS. McENROE:                                  4 just a -- an example we were looking at a
   5      Q. Without that assumption                  5 minute ago, a fairly simple, if-then
   6 about the first triggering transaction           6 step. I think of everything I -- I've
   7 flagging the remainders?                         7 done here in terms of what you can do in
   8      A. Correct.                                 8 Excel. And so imagine that you've got
   9      Q. Across the different -- the              9 numbers in two columns and you've got a
  10 five different approaches?                      10 rule that says if Column A exceeds
  11      A. I don't recall whether that             11 Column B, put a one in that cell. And I
  12 is correct or not.                              12 would think of that one as a flag. And
  13      Q. So you don't know one way or            13 the absence of that one, signifying that
  14 the other, but you may have?                    14 A does not exceed B, being an unflagged
  15      A. Correct.                                15 transaction.
  16      Q. And do you have a sense of              16           And then it's only a slight
  17 the difference that this one assumption         17 further modification to say in that third
  18 makes about flagging the subsequent             18 column, it's a one if A exceeds B or if
  19 transactions in terms of the number of          19 the column above -- the value above is
  20 transactions or the proportion of               20 one. And then you would just fill in
  21 transactions that are flagged?                  21 ones in every cell after the first time A
  22           MR. MOUGEY: Objection.                22 exceeds B.
  23           THE WITNESS: I have some              23           And all I mean by flagging
  24      general intuition. I don't                 24 is that it's got that checkmark or one

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   1       have -- I don't -- I don't have a          1 for that transaction and everything that
   2       quantified answer for you. But I           2 follows it.
   3       have a general intuition.                  3      Q. Are you of the opinion that
   4 BY MS. McENROE:                                  4 a flagged transaction means that that
   5       Q. What's your general                     5 transaction represents a suspicious
   6 intuition?                                       6 order?
   7       A. Well, because for most of               7      A. That's way beyond my report,
   8 these defendants, you see a substantial          8 I think.
   9 increase over time, especially leading up        9      Q. Are you --
  10 to 2010 or 2011. If you reset that              10      A. I'm sorry, I apologize. I
  11 trailing six-month maximum to be the            11 don't have an opinion one way or the
  12 maximum of the most recent six months,          12 other. If -- if you inferred from my
  13 then you end up with fewer transactions         13 answer that I think it means that it is
  14 being flagged.                                  14 not a suspicious order, I didn't mean
  15       Q. Okay. So it would be a                 15 that. I just mean I don't have an
  16 downward trend if you took away the             16 opinion one way or the other.
  17 assumption about the subsequent                 17      Q. Understood. But just to
  18 transactions being flagged?                     18 make sure we are speaking the same
  19       A. Correct.                               19 language. It's fair to say that you are
  20       Q. We've been using the                   20 not taking the opinion that a flagged
  21 terminology of a transaction being              21 transaction is necessarily a suspicious
  22 flagged. And that's language you used in        22 order?
  23 your report as well, correct?                   23      A. Correct.
  24       A. Correct.                               24      Q. And it's also fair to say
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   1 that you are not saying that a flagged          1  there's been a gap there.
   2 transaction is necessarily illegal or           2            If the pharmacy purchases
   3 representative of illegal conduct?               3 from the distributor again in
   4      A. Correct.                                 4 January 2008, how do you set that
   5      Q. It's also fair to say that a             5 threshold when you pick up again with the
   6 flagged transaction in your opinion does         6 distribution to that pharmacy?
   7 not necessarily mean there's been a              7       A. Well, that's a good
   8 failure of due diligence?                        8 question. That's a hypothetical I hadn't
   9      A. Correct.                                 9 thought of. I'd have to look at the data
  10      Q. I want to take a look real              10 and see the -- and see how -- how
  11 quick specifically at this first                11 significant that is.
  12 approach, the maximum monthly trailing          12           A slight variant on your
  13 six-month threshold.                            13 hypothetical would be if -- if the
  14          And I want to -- your --               14 pharmacy had bought from the distributor,
  15 your -- strike that.                            15 let's say in four of the previous six
  16          Your example here is very              16 months, then it would be just as I
  17 helpful for understanding it, so I              17 described it there in the example. If
  18 appreciate that.                                18 you imagine in -- in March and May the
  19          But I want to get an                   19 quantity is zero, so that the quantities
  20 understanding for, in practical terms,          20 are 5,000, 7,000, 9,000, and 9,500, then
  21 various of the defendants for different         21 it still would be the case that if a
  22 reasons may have gaps in their data. So         22 transaction in August put you past, in
  23 for example, they may have been serving a       23 this hypothetical, 9,500, not 10,000, you
  24 pharmacy for a period of time, the              24 would flag the transaction.

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   1 pharmacy switched to a different                1           So blanks in the six-month
   2 distributor, and then went back to that         2  window don't affect the calculation. The
   3 distributor.                                     3 conditional statement is still, if the
   4          Are you familiar with those             4 cumulative transactions that month exceed
   5 kinds of changes or variations in the            5 the highest of the preceding six calendar
   6 data, just speaking generally?                   6 months, you flag the transaction.
   7      A. Yes.                                     7          We don't ever flag a
   8      Q. Okay. How were gaps in the               8 transaction in the first -- at least
   9 data or entries without anything included        9 under this methodology, in the first six
  10 handled in figuring out the maximum             10 months of the purchases from a
  11 monthly trailing six-month threshold?           11 distributor. But if a pharmacy is buying
  12      A. I'm sorry, I don't think I'm            12 from a distributor and then there's a gap
  13 understanding that question.                    13 of greater than six months, six months or
  14      Q. Sure. So I have a                       14 greater, I'd have to think through and
  15 hypothetical for you. We can try and            15 maybe just check and see how that is
  16 walk through it to see if that helps to         16 handled. It -- whether we handle it as
  17 clarify.                                        17 restarting the clock, but I just don't
  18      A. Okay.                                   18 recall as I sit here.
  19      Q. We have a pharmacy                      19      Q. Do you know if you guys
  20 purchasing from a distributor in January        20 input, you and your staff I should say,
  21 through June, let's say of 2007. I'm            21 input any threshold or baseline, if there
  22 just picking a year. But does not               22 was no data included, so you would pick a
  23 purchase from that distributor from July        23 number and put it in there?
  24 through December of 2007. Okay? So              24      A. No, not for that purpose.
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